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                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEW JERSEY
                         D.N.J. LBR 2016-1, FEE APPLICATION COVER SHEET
In Re:          LTL Management LLC                   Applicant:    The Brattle Group, Inc.
                                                                   Official Committee of Talc Claimants I
Case No.:       21-30589 (MBK)                       Client:       (“TCC I”)

Chapter:        11                                   Case Filed:   October 14, 2021

            COMPLETION AND SIGNING OF THIS FORM CONSTITUTES A CERTIFICATION
              UNDER PENALTY OF PERJURY, PURSUANT TO 28 U.S.C. SECTION 1746

                                   RETENTION ORDER(S) ATTACHED

         THIRD MONTHLY FEE STATEMENT OF THE BRATTLE GROUP, INC. FOR THE
             PERIOD OF APRIL 1, 2022 THROUGH APRIL 30, 2022
                                               SECTION 1
                                             FEE SUMMARY

            Interim Fee Application No.         or             Final Fee Application

 NAME OF PROFESSIONAL                TITLE                         HOURLY    HOURS        BILLED FEES
                                                                    RATE
 YVETTE AUSTIN SMITH                 PRINCIPAL                     $900.00    2.8            $2,520.00
 MARK P. BERKMAN                     PRINCIPAL                     $685.00    6.6            $4,521.00
 DAVID MCKNIGHT                      PRINCIPAL                     $600.00    9.0            $5,400.00
 ALBERT METZ                         PRINCIPAL                     $700.00    9.0            $6,300.00
 JULIA ZHU                           SENIOR ASSOCIATE              $550.00    86.6          $47,630.00
 MARIANNE B. KOEHLI                  ASSOCIATE                     $500.00    58.5          $29,250.00
 JOHN MICHAEL                        SENIOR RESEARCH ANALYST       $375.00    38.5          $14,437.50
 KALAB BEGNA                         SENIOR RESEARCH ANALYST       $375.00     8.0           $3,000.00
 ALICE SHAO                          SENIOR RESEARCH ANALYST       $375.00    28.5          $10,687.50
 MONET LEE                           RESEARCH ANALYST              $350.00    22.1           $7,735.00
 RACHEL LIU                          RESEARCH ANALYST              $325.00    19.5           $6,337.50
 ABHAY KURIAN                        DATA ENGINEER                 $240.00     4.0            $960.00
 JARED MILAZZO                       LITIGATION SPECIALIST         $225.00    23.8           $5,355.00
 LISA QI                             ASSISTANT                     $125.00     8.5           $1,062.50
                                     GENERAL COUNSEL
                                                        TOTAL:                325.4        $145,196.00

                      FEE TOTALS                                                $145,196.00
                      MINUS 20% HOLDBACK                                          -$29,039.20
                      TOTAL FEES CURRENTLY PAYABLE                              $116,156.80
                      TOTAL PAYABLE THIS INVOICE                                $116,156.80




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                            SECTION II – SUMMARY OF SERVICES

                            SERVICES RENDERED                                HOURS
   Client Communication                                                                6.0
   Fee Statement Preparation                                                          32.3
   Project Management                                                                  1.4
   Research and Analysis                                                            285.7
                                                      SERVICES TOTAL:               325.4




                           SECTION III – SUMMARY OF EXPENSES

                                 EXPENSES                                   AMOUNT
    a) Outside/Information Services                                                $68.00
    b) Travel and Overtime Meals                                                    $0.00
    c) Ground Transportation                                                        $0.00
                                                      EXPENSE TOTAL:               $68.00




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                               SECTION IV - CASE HISTORY

         (NOTE: Items 3 – 6 are not applicable to applications under 11 U.S.C. §506)

   (1) DATE CASE FILED:                                               October 14, 2021

   (2) CHAPTER UNDER WHICH CASE WAS
       COMMENCED:                                                     11
                                                                      Authorized by Final Order
   (3) DATE OF RETENTION:
                                                                      on June 1, 2022 [Docket No.
       (ANNEX COPY OF ORDER(S))
                                                                      2389]

                                                                      N/A

      IF LIMIT ON NUMBERS OF HOURS OR OTHER
       LIMITATIONS TO RETENTION, SET FORTH:
   (4) SUMMARIZE IN BRIEF THE BENEFITS TO THE ESTATE AND ATTACH
       SUPPLEMENTS AS NEEDED:

         •   The Brattle Group, Inc. (“Brattle”) performed economic and financial analyses to examine
             the allocation of facility proceeds across a range of claims data.
         •   Brattle carried out research and identified relevant precedents derived from other mass tort
             claim facilities and other personal injury awards and analyzed claims over various time
             periods.
         •   Brattle created and presented presentations to brief TCC on the status of Brattle’s research
             and analysis.


   (5) ANTICIPATED DISTRIBUTION TO CREDITORS:
                (A) ADMINISTRATION EXPENSES:                          (unknown at this time)
                    (B) SECURED CREDITORS:                            (unknown at this time)
                    (C) PRIORITY CREDITORS:                           (unknown at this time)
             (D) GENERAL UNSECURED CREDITORS:                         (unknown at this time)

   (6) FINAL DISPOSITION OF CASE AND                                  Final disposition of case and
       PERCENTAGE OF DIVIDEND PAID TO                                 dividend are unknown at this
       CREDITOR (IF APPLICABLE):                                      time.




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   (7) I certify under penalty of perjury that the above is true.



 Date:   July 5, 2022




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